                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                          DOCKET NO. 1:15-cr-00095-MOC-DLH

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                       ORDER
                                                )
 DAVID WILLIAM GUNTER,                          )
                                                )
                 Defendant.                     )



       THIS MATTER is before the Court on defendant’s pro se Motion for Court Assistance in

his Reentry Efforts. Specifically, defendant complains that he is not receiving adequate dental

care while in the custody of the Bureau of Prisons and that he needs the court to intervene with his

probation officer to assure he gets proper dental care once he is released. Defendant also states

that he is scheduled to be released to a halfway house this summer.

       As to the medical or dental care a defendant receives is in the custody of the BOP at FCI

Edgefield, South Carolina, this Court in North Carolina is without jurisdiction. If defendant is

dissatisfied with the care he is receiving in the BOP, defendant is advised that he can make an

administrative claim within the BOP by filing with them Standard Form 95.

       Defendant also requests that the Court direct his probation officer, once he is released, to

provide resources for his dental care. Review of the PSR in this matter does not reveal that

defendant reported any issues with his oral health in the presentence interview process. Based on

defendant’s statement and the attachments to the motion, however, the Court accepts that

defendant may have issues with dental hygiene based on neglect that predates his arrest in this

matter. The Court will instruct that once defendant commences supervised release, the supervising

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officer should make inquiry of defendant concerning his dental health and, if warranted, discuss

with defendant what community resources (if any) are available to address such concerns.

                                              ***

       Defendant is advised that this is the most this Court can do for him and that, upon release,

it will be up to him to provide for his own needs through lawful employment. The Court recalls

from sentencing that defendant’s employer in Mars Hill told the Court that he would have a job

when he was released. While those wages may well be modest, defendant (who is now a man in

his 30s) should seriously consider spending his resources on things that will assist him in pursuing

a productive life -- such as medical and dental care -- rather than on purchasing tats and illegal

drugs as disclosed in the PSR. The Court is, however, encouraged by defendant’s representations

that he is now clean and sober.



                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se Motion for Court Assistance

in his Reentry Efforts (#82) is DENIED.



       Once on supervised release, defendant’s supervising officer is instructed to discuss with

defendant his dental health and, if warranted, to review with defendant what community-based

resources may be available to address such needs.




                                            Signed: May 10, 2017




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